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                                   UNITED STATES DISTRICT COURT

                                       DISTRICT OF OREGON



UNITED STATES OF AMERICA,                           Case No. 3:17-cr-00400-HZ

                      Plaintiff,                    TRIAL MANAGEMENT ORDER

v.

JASON PAUL SCHAEFER,

                      Defendants.


HERNANDEZ, Judge:

       A.      If the matter will proceed to trial, no later than TWENTY-ONE (21) days prior to the

scheduled trial date, counsel shall so notify the courtroom deputy and file pretrial documents (see

below). When notified that the case is ready to proceed to trial, the court will schedule a pretrial

conference.

       Pretrial documents shall be filed as follows:

       (1)     Twenty-One days prior to the scheduled trial date, the parties shall simultaneously file:

               (a)    all motions in limine;

               (b)    trial memoranda;

               (c)    requested jury instructions (follow Ninth Circuit Model Jury Instructions when

       possible and also submit the jury instructions, in Word format, as an attachment to an e-mail




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       to the courtroom deputy);

               (d)    proposed voir dire questions;

               (e)    exhibit list and exhibits (a copy of each numbered, copy-able exhibit shall be

       supplied to the court and opposing counsel; original exhibits shall be submitted at the

       time of trial; both the original and the judge's copies of exhibits shall be three-hole

       punched and placed into binders with clearly marked index tabs; and all staples and clips

       shall be removed from the exhibits which are placed in the three-ring binders);

               (f)    expert witness list and summaries of any expert testimony;

               (g)    proposed verdict form (also submit the verdict form, in Word format, as an

       attachment to an e-mail to the courtroom deputy);

               (h)    the Government shall file a complete witness list.

       (2)     At least FOURTEEN (14) days prior to the scheduled trial date, any responses to the

               above documents shall be filed.

       The courtroom is equipped with digital evidence presentation. Counsel is encouraged to

use this equipment during trial. Arrangements can be made for the use of the equipment by

contacting the Courtroom Deputy, at (503) 326-8051 at least one week before trial. Houston

Bolles, Courtroom Technology Administrator (503) 326-8181, will arrange to demonstrate the

equipment upon request, but you must make arrangements for this prior to trial.

        OR,

       B.      If the matter will not proceed to trial, no later than FOURTEEN (14) days prior to

the scheduled trial date, counsel shall set a plea hearing with the courtroom deputy or file a

motion to continue the trial date. Any motion to continue a criminal trial shall include the filing of a

declaration or affidavit containing:

       (a)     a statement of the number and length of previous continuances;

       (b)     a proposed trial date and the specific and detailed reason for the continuance stated
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with sufficient specificity to permit the Court to make findings of the necessity for a continuance. If

necessary to prevent disclosure of work product or other privileged material, a party may submit an

additional affidavit under seal setting out the facts that warrant a continuance;

       (c)     a representation that the defense attorney has spoken to his or her client and the

client agrees with the continuance, understands the rights provided by the Speedy Trial Act, and

waives those rights in light of the reason for the continuance. Attorneys may only speak for their

own clients. The client’s written consent for continuance may be filed instead; and,

       (d)     the positions of all other parties, including the government, concerning the proposed

continuance. (In cases with multiple defendants being tried together, the position of each defendant

must be provided to the Court by each defendant's attorney in the form of a declaration or affidavit.)

       NOTE: Defendants will not be taken off the U.S. Marshal’s transport list until acceptable

submissions are received and the motion to continue the trial date is granted. Status

conference may be required by the court upon the filing of any motion to continue.

       If any change in trial date is granted, the timeframes set out in this order shall apply

to any new trial date.

        IT IS SO ORDERED.

        DATED this 19th day of December, 2017.

                                                            /s/ Marco A. Hernandez
                                                            MARCO A. HERNANDEZ
                                                            United States District Judge




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